     Case 2:13-cr-00008-WFN        ECF No. 3718   filed 05/28/15    PageID.28691 Page 1 of 1




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 4                                UNITED STATES DISTRICT COURT
 5
                                EASTERN DISTRICT OF WASHINGTON
 6
     UNITED STATES OF AMERICA,
 7                                                       No.       2:13-CR-0008-WFN-32
                                  Plaintiff,
 8                                                       ORDER
                -vs-
 9
     PRINCETON JAMAAL LEE PERRY,
10
                                  Defendant.
11
12              Before the Court is Defendant's Emergency Motion to Allow Removal of Ankle
13   Bracelet for Air Travel to Bureau of Prisons Designated Facility.             ECF No. 3709.
14   Defendant has been designated to FCI La Tuna with a report date of June 3, 2015. He
15   would like to fly to the facility. Defendant is subject to electronic monitoring and the
16   ankle bracelet must be removed prior to boarding his flight. Accordingly,
17              IT IS ORDERED that:
18              1. Defendant's Emergency Motion to Allow Removal of Ankle Bracelet for Air
19   Travel to Bureau of Prisons Designated Facility, filed May 26, 2015, ECF No. 3709, is
20   GRANTED.
21              2. Defendants' Motion to Expedite, filed May 26, 2015, ECF No. 3708, is
22   GRANTED. The underlying Motion was considered on an expedite basis.
23              3. Defendant's electronic monitoring device shall be removed June 2, 2015.
24              The District Court Executive is directed to file this Order and provide copies
25   to counsel AND TO the United States Probation Officer Melissa Hanson.
26              DATED this 28th day of May, 2015.
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28                                                  s/ Wm. Fremming Nielsen
                                                      WM. FREMMING NIELSEN
     05-27-15                                  SENIOR UNITED STATES DISTRICT JUDGE

     ORDER
